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10   Facsimile Number:         (310) 860 0771
11   Attorneys for Plaintiff,
     MARCELLUS MCMILLIAN
12

13                        UNITED STATES DISTRICT COURT
14                       CENTRAL DISTRICT OF CALIFORNIA
15

16   MARCELLUS McMILLIAN,                     Case No.: 2:19-cv-02121-MWF-JCx
17                                            The Honorable Michael W. Fitzgerald
           Plaintiff,
18                                            PLAINTIFF MARCELLUS
                                              McMILLIAN’S AMENDED MOTION IN
19   vs.                                      LIMINE NO. 1 TO EXCLUDE ANY
                                              REFERENCE TO ANY CLAIMS
20                                            REGARDING PLAINTIFF’S
     GOLDEN STATE FC LLC,                     AUTOMOBILE ACCIDENT;
21   AMAZON FULFILLMENT                       MEMORANDUM OF POINTS AND
     SERVICES, INC., AMAZON.COM               AUTHORITIES; DECLARATION OF
22   SERVICES, INC., and                      MAHRU MADJIDI; EXHIBITS
     AMAZON.COM, INC.,
23                                            (MIL NO. 1 OF 2)
24         Defendants.                        Trial: June 28, 2022
                                              Time: 8:30 a.m.
25                                            Ctrm.: 5A
26                                            FPC: June 6, 2022
                                              Time: 11:00 a.m.
27                                            Ctrm.: 5A
28                                            Action Filed: January 11, 2019


                            PLAINTIFF’S AMENDED MOTION IN LIMINE NO. 1
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1         TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
2         PLEASE TAKE NOTICE that on June 6, 2022, at 11:00 a.m., or as soon thereafter
3    as the matter can be heard, in Courtroom 5A of this Court, at 312 North Spring Street, Los
4    Angeles, California 90012, plaintiff, Marcellus McMillian, will move in limine to exclude
5    from trial any reference to any claims regarding Plaintiff’s automobile accident, including
6    but not limited to insurance claims or legal claims, and any evidence related thereto.
7         This motion is made on the grounds that this evidence is inadmissible, irrelevant, and
8    unduly prejudicial. See Federal Rules of Evidence, Rules 401-403. This motion is based
9    upon this notice, the accompanying Memorandum of Points and Authorities and
10   Declaration of Mahru Madjidi, Esq., all pleadings and papers filed herein, and additional
11   arguments and materials that the Court may consider at the hearing on this motion. This
12   motion was made after the McMillian engaged in meet and confer efforts with Defendants’
13   counsel and the parties were unable to reach a stipulation on this issue.
14

15

16   Dated: March 8, 2022              SHEGERIAN & ASSOCIATES, INC.
17

18                                     By:
                                             Mahru Madjidi, Esq.
19
                                             Attorneys for Plaintiff,
20                                           MARCELLUS McMILLIAN
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1                      MEMORANDUM OF POINTS AND AUTHORITIES
2     1. SUMMARY OF RELIEF SOUGHT
3         Plaintiff, Marcellus McMillian (“McMillian”), respectfully requests by way of this
4    Motion in Limine (“MIL No. 1”) that this Court preclude reference to any claims made
5    regarding McMillian’s 2017 automobile accident, including but not limited to any
6    insurance claims or legal claims.
7         First, the reference McMillian’s legal claims or insurance claims related to his car
8    accident must be excluded because they are not relevant. McMillian was injured in a car
9    accident on August 3, 2017, resulting in a need for accommodations and medical leave.
10   Any legal claims or insurance claims McMillian had pertaining to the car accident, have
11   no bearing on the claims or issues in this case. Moreover, any monetary sums received as
12   a result of such claims are from a “collateral source” and inadmissible. Anheuser-Busch v.
13   Starley 28 Cal.2d 347, 349 (1946); See Helfand v. Southern Calif. Rapid Transit Dist. 2
14   Cal.3d 1, 10 (1970).
15        Second, Defendants cannot argue that McMillian’s claims pertaining to his car
16   accident motivated him to file this instance lawsuit because Rule 404(b) prevents
17   Defendants from using other lawsuits or grievances to show bias or motive for filing a
18   different lawsuit. Henderson v. Peterson 2011 U.S. Dist. LEXIS 76799, at *16-17 (N.D.
19   Cal. July 15, 2011) (granting the inmate plaintiff's motion in an excessive force case to
20   "preclude Defendants from presenting evidence concerning other complaints and lawsuits
21   initiated by him that are unrelated to the incident forming the basis of this action.")
22   Furthermore, Defendants’ argument that McMillian’s other claims pertaining to his car
23   accident were fraud have no merit or support, and "[a]s a general matter, unless the prior
24   lawsuits have been shown to be fraudulent, the probative value of evidence pertaining to
25   a plaintiff's litigation history is substantially outweighed by the danger of jury bias.” Id.
26   Thus, evidence of McMillians claims pertaining to car accident are inadmissible for this
27   reason as well.
28        Third, this evidence must also be excluded pursuant to Federal Rules of Evidence


                              PLAINTIFF’S AMENDED MOTION IN LIMINE NO. 1
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1    Rule 403 because has no probative value. For this evidence to be probative bias or motive,
2    ‘the particular details of each action, and the extent to which the bringing of each action
3    was justified, must be before the jury,’ and consequently, courts rarely admit such
4    evidence because they would involve a series of minitrials, and thus excludable under Rule
5    403. Outley v. City of New York 837 F.2d 587, 592 (2d Cir. 1988); Mathis v. Philips
6    Chevrolet, Inc. (7th Cir. 2001) 269 F.3d 771, 776-777. This evidence will undoubtedly
7    result in a mini-trial on irrelevant issues that are not probative, and inadmissible under
8    FRE Rule 403.
9          Fourth, this evidence is also inadmissible under Rule 403 because even if there was
10   probative value (there is not) it would be substantially outweighed by the danger of unfair
11   prejudice, confusion of the issues, likelihood of misleading the jury, undue delay, and
12   waste of time. See, e.g., Tapia v. Banker, 160 Cal.App.3d 761, 766 (1984); Morse v.
13   Southern Pac. Transp. Co., 63 Cal.App.3d 128, 133 (1976). Federal Rule of Evidence
14   Rule 403 states “the court may exclude relevant evidence if its probative value is
15   substantially outweighed by a danger of one or more of the following: unfair prejudice,
16   confusing the issues, misleading the jury, undue delay, wasting time, or needlessly
17   presenting cumulative evidence.” As there is no probative value to any insurance claims
18   or legal claims surrounding McMillian’s car accident, any such references to either will
19   inevitably be outweighed by a danger of unfair prejudice to the Plaintiff, confuse the
20   issues, mislead the jury, cause undue delay, and waste time. Batiste-Davis v. Lincare, Inc.
21   526 F.3d 377, 380-381 (8th Cir. 2008) (probative value of evidence of a plaintiff’s prior
22   six-year-old lawsuit against former employer substantially outweighed by its unfair
23   prejudice.)
24         For the aforementioned reasons, as well as the reasons further discussed below,
25   plaintiff respectfully requests that the Court grant Plaintiff’s motion in limine.
26   ///
27   ///
28   ///

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1     2. ARGUMENT
2         A. A Motion in Limine is a Proper Device by Which to Preclude or Limit
3              the Introduction of Evidence.
4         This Court has authority to grant a motion in limine, in advance of trial, which
5    excludes inadmissible evidence, as well as any and all reference by the parties, attorneys,
6    and witnesses to the inadmissible evidence. Luce v. U.S., 469 U.S. 38, 41 (1984); U.S. v.
7    Komisaruk, 885 F.2d 490, 492-95 (9th Cir. 1989) (trial court properly granted a motion in
8    limine to exclude evidence regarding the defendant's religious and political beliefs, when
9    the beliefs would not provide a viable defense to the charged offenses). A motion in limine
10   is a motion used to preclude prejudicial or objectionable evidence before it is presented to
11   the jury. U.S. v. Chan, 184 F. Supp. 2d 337, 340 (S.D. N.Y. 2002); U.S. v. Stormer, 938
12   F.2d 759, 763–64 (7th Cir. 1991).
13        B. Any Legal or Insurance Claims McMillian Had Relating to His Car
14             Accident in 2017 Is Not Relevant to this Action in Any Way.
15        Evidence is relevant if it has “any tendency to make the existence of any fact that is of
16   consequence to the determination of the action more probable or less probable than it would
17   be without the evidence.” Shad v. Dean Witter Reynolds, Inc., 799 F.2d 525, 529 (9th Cir.
18   1986); F.R. Evid. Rule 401.
19        In this case, McMillian was in a car accident on August 3, 2017, and as a result, suffered
20   from injuries that required accommodations, including a leave of absence. Whether
21   McMillian had any legal claims or insurance claims pertaining to the car accident has no
22   bearing on any of the facts, including any of the claims or defenses in this case. McMillian
23   is not seeking to exclude reference to there being an automobile accident, rather, he is seeking
24   to exclude reference to any claims, including legal or insurance claims, and any payments
25   related thereto. This specific evidence has no bearing on McMillian’s instant employment
26   action because his legal claims and insurance claims are not at issue and wholly unrelated to
27   the discrimination, retaliation, failure to engage and failure to accommodate claims at issue
28   in this case.

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1        C. Any Payments Received As a Result of the Car Accident Are Collateral
2             Source Payments That Must be Excluded.
3         This evidence is also not relevant because any payments received as a result thereof,
4    serve as an inadmissible collateral source payment. A “collateral source” payment originates
5    from a source wholly independent of the tortfeasor. American State Bank v. Union Planters
6    Bank, N.A. 332 F.3d 553, 558 (8th Cir. 2003). Any evidence that McMillian received
7    compensation, any award, or funds from any collateral source, must be excluded from trial.
8    Such exclusion stems from application of the collateral source rule:
9          Where a person suffers personal injury or property damage by reason of a
10
           wrongful act of another, an action against the wrongdoer for the damages
           suffered is not precluded nor is the amount of the damages reduced by the receipt
11         by him of the payment for his loss from a source wholly independent of the
12
           wrongdoer.

13   Anheuser-Busch v. Starley 28 Cal.3d 347, 349 (1946). In Helfand v. Southern Calif.
14   Rapid Transit Dist. 2 Cal.3d 1, 13 (1970) the Court specifically recognizes payments
15   from insurance as also being a collateral source. Here, any payments received from
16   any lawsuit or insurance claim, would undoubtedly serve as an inadmissible “collateral
17   source” payment that does not offset any damages or recovery in this completely
18   unrelated employment matter. Any payment received from a collateral source because
19   he was hit by another car does not offset his damages in this case, nor does it relate to
20   his damages in this case, which consist of lost wages and emotional distress relating to
21   his wrongful termination. Thus, the evidence is not relevant for the purpose of damages
22   either, and must be excluded.
23       D. Evidence of any Claims Relating to the Car Accident are Inadmissible
24            Character Evidence Under FRE 404.
25        Defendants’ attempt to argue that because McMillian filed claims in his car accident
26   case and recovered money, he now has a motive to file claims against Defendants as well.
27   Not only is there no evidence to support this conclusory argument, but under Federal Rules
28   of Evidence, Rule 404(b), Defendants are precluded from arguing that lawsuits or

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1    grievances that occurred under different circumstances and were brought against different
2    individuals show bias or motive for filing the instant lawsuit. Henderson v. Peterson 2011
3    U.S. Dist. LEXIS 76799, at *16-17 (N.D. Cal. July 15, 2011) (granting the inmate
4    plaintiff's motion in an excessive force case to "preclude Defendants from presenting
5    evidence concerning other complaints and lawsuits initiated by him that are unrelated to
6    the incident forming the basis of this action.).
7         Defendants argue that McMillian was not motivated to work after receiving payments
8    from the claims relating to his car accident and wanted to grow his own business instead.
9    This is another conclusory argument that is unsupported by any of the evidence. McMillian
10   has worked on his business before and after his employment with the Defendants,
11   irrespective of any car accident. Finally, Defendants also argue that McMillian was not
12   actually suffering from a disability, and point to a picture of him attending an event while
13   he was under work restrictions—this is not inconsistent with McMillian’s work
14   restrictions which limited him from engaging in heavy lifting or standing for long periods
15   of time. Moreover, Defendants are precluded from making any fraud allegations against
16   McMillian’s claims relating to his car accident: "[a]s a general matter, unless the prior
17   lawsuits have been shown to be fraudulent, the probative value of evidence pertaining to
18   a plaintiff's litigation history is substantially outweighed by the danger of jury bias."
19   Henderson v. Peterson 2011 U.S. Dist. LEXIS 76799, at *16-17 (N.D. Cal. July 15, 2011).
20   Defendants have no such evidence, and can make no such argument.                 Indeed, “A
21   Plaintiff’s character is not an essential element of any claim or defense in an
22   employment discrimination case.” Zubulake v. UBS Warburg 382 F.Supp.2d 536, (S.D.
23   N.Y. 2005) fn.1, bolding added; see also EEOC v. HBE Corp. 135 F.3d 543, 553 (8th Cir.
24   1998). Defendants however seek to do just this, and attempt to use any legal or insurance
25   claims, or payments received as a result thereof, to claim that because he filed one lawsuit,
26   he must be filing this lawsuit to search for a quick pay-day in attempt to fund other business
27   prospects to make income from instead of with Defendants. This is precisely the type of
28   inadmissible character evidence that must be excluded or else will result in certain

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1    prejudice.
2        E. Reference to Legal Claims or Insurance Claims or Any Evidence
3             Related Thereto Must be Excluded Pursuant to FRE 403, As it Would
4             Create a Danger of Unfair Prejudice.
5         Federal Rules of Evidence Rule 403 provides as follows: “Although relevant,
6    evidence may be excluded if its probative value is substantially outweighed by the danger
7    of unfair prejudice, confusion of the issues, or misleading the jury, or by considerations of
8    undue delay, waste of time, or needless presentation of cumulative evidence.” Federal
9    Rule of Evidence 403. “The trial court must exclude evidence, even if relevant, if the
10   probative value of the evidence is substantially outweighed by the danger of unfair
11   prejudice.” United States v. Brooke, 4 F.3d 1480 (9th Cir. 1993); Federal Rule of Evidence
12   403. Moreover, “[w]here the evidence is of very slight (if any) probative value, it’s an
13   abuse of discretion to admit it if there’s even a modest likelihood of unfair prejudice or a
14   small risk of misleading the jury.” United States v. Hitt, 981 F.2d 422,424 (9th Cir. 1992).
15        First, this evidence is not probative to bias, motive, or modus operandi, because ‘the
16   particular details of each action, and the extent to which the bringing of each action was
17   justified, must be before the jury,’ and consequently, courts rarely admit such evidence
18   because they would involve a series of minitrials, and thus excludable under Rule 403.
19   Outley v. City of New York 837 F.2d 587, 592 (2d Cir. 1988); Mathis v. Philips Chevrolet,
20   Inc. (7th Cir. 2001) 269 F.3d 771, 776-777. Even if McMillian’s claims related to his car
21   accident were questionable (they are not), it still would not be probative evidence because
22   the claims in a car accident matter are completely different than the claims at issue in this
23   wrongful termination employment matter. Gastineau v. Fleet Mortg. Corp. 137 F.3d 490,
24   495 (7th Cir. 1998) (claims must be similar in nature to the current claim to be potentially
25   relevant to show “fraudulent pattern” or “scheme”).
26        In addition to the above, such evidence will create a danger of unfair prejudice to the
27   McMillian, confuse the issues, mislead the jury, cause undue delay, and waste time.
28   Indeed, introducing evidence of any legal claims or insurance claims relating to

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                              PLAINTIFF’S AMENDED MOTION IN LIMINE NO. 1
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1    McMillian’s accident will greatly confuse the jury and result in them believing that the car
2    accident and claims related thereto are part of McMillian’s wrongful termination action,
3    when they have no bearing at all on the clams and issues in this case. Under every scenario,
4    the prejudice far outweighs any alleged probative value, would result in confusion, undue
5    delay, and waste of time.
6     3. CONCLUSION
7         Plaintiff, Marcellus McMillian, respectfully requests that this Court grant Plaintiff’s
8    motion in limine.
9

10   Dated: March 8, 2022              SHEGERIAN & ASSOCIATES, INC.
11

12                                     By:
                                             Mahru Madjidi, Esq.
13
                                             Attorneys for Plaintiff,
14                                           MARCELLUS McMILLIAN
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                             PLAINTIFF’S AMENDED MOTION IN LIMINE NO. 1
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      DECLARATION
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1                            DECLARATION OF MAHRU MADJIDI
2

3         I, Mahru Madjidi, declare as follows:
4         1. I am an attorney at law, authorized to practice law before all of the courts of the
5    State of California. I am a managing attorney for Shegerian & Associates, the attorney of
6    record for Marcellus McMillian, in this case. I am familiar with the files, pleadings, and
7    facts in this case and could and would competently testify to the following facts on the
8    basis of my own personal knowledge.
9         2. Plaintiff seeks to exclude all reference to and evidence of plaintiff’s claims
10   resulting from his 2017 automobile accident. Such evidence is inadmissible for purposes
11   of mitigation or for any other purpose.
12        3. My office met and conferred regarding the issues of this motion in limine on
13   November 9, 2021, and by letter correspondence with counsel for defendants. Attached
14   hereto as Exhibit 1 is a true and correct copy of our December 9, 2021 letter to defense
15   counsel.
16        4. If the motion in limine is not granted, plaintiff will suffer substantial prejudice
17   and will risk trying his case with issues that are substantially confusing, as well as a jury
18   that is substantially misled.
19        I declare, under penalty of perjury under the laws of the State of California, that the
20   foregoing is true and correct.
21        Executed on this 8th day of March, 2022, at Los Angeles, California.
22

23
                                               Mahru Madjidi
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            DECLARATION OF MAHRU MADJIDI IN SUPPORT OF PLAINTIFF’S MOTION IN LIMINE NO. 1
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                      EXHIBIT 1
Case 2:19-cv-02121-MWF-JC Document 131 Filed 03/08/22 Page 15 of 17 Page ID #:6882




                                         December 9, 2021


   SENT VIA EMAIL

   Barbara A. Fitzgerald, Esq.
   Alexander L. Grodan, Esq.
   Ethel J. Johnson, Esq.
   Kevin J. Bohm, Jr., Esq.
   MORGAN, LEWIS & BOCKIUS LLP
   300 South Grand Avenue, Twenty-Second Floor
   Los Angeles, California 90071
   barbara.fitzgerald@morganlewis.com
   alexander.grodan@morganlewis.com
   ethel.johnson@morganlewis.com
   kevin.bohm@morganlewis.com

            Re: McMillian v. Amazon, et. al.


   Dear Counsel:

          Please find this correspondence as part of Plaintiff Marcellus McMillian’s
   (“Plaintiff”) effort to meet and confer with respect to motions in limine that Plaintiff
   intends to file in the above-named matter.

          Absent your agreement and stipulation that the evidence in the subjects specified
   below will not be offered at trial, Plaintiff will file motions in limine that will request the
   Court to exclude evidence of, reference to, and testimony about the following:

         1. Any reference to any claims regarding plaintiff’s car accident.

           This motion will be based, in part, on relevance and Federal Rules of Evidence,
   Rules 401-404 grounds. Please be aware that this may not be an exhaustive list of issues
   Plaintiff anticipates raising by motion in limine, and accordingly Plaintiff reserves all
   rights to modify or add this to this list.

   ///
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          Please inform my office at your earliest convenience, whether you are willing to
   stipulate to exclude the aforementioned evidence at trial.

   Thank you for your attention and cooperation in this matter.



                                       Very truly yours,

                                   Shegerian & Associates



                                   Griselda Rodriguez, Esq.
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1    McMILLIAN v. GOLDEN STATE FC, et al. USDC Case No. 2:19-cv-02121-MWF-JCx
2                                   PROOF OF SERVICE
3                STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
4         I am an employee in the County of Los Angeles, State of California. I am over the
     age of 18 and not a party to the within action; my business address is 145 South Spring
5    Street, Suite 400, Los Angeles, California 90012.
6         On March 8, 2022, I served the foregoing document, described as “PLAINTIFF
     MARCELLUS McMILLIAN’S AMENDED MOTION IN LIMINE NO. 1 TO
7    EXCLUDE ANY REFERENCE TO ANY CLAIMS REGARDING PLAINTIFF’S
     AUTOMOBILE            ACCIDENT;       MEMORANDUM             OF     POINTS      AND
8    AUTHORITIES; DECLARATION OF MAHRU MADJIDI; EXHIBITS” on all
     interested parties in this action by placing true copies thereof in sealed envelopes,
9    addressed as follows:
10   Barbara A. Fitzgerald, Esq.                   Ethel J. Johnson, Esq.
     Barbara.Fitzgerald@morganlewis.com            ethel.johnson@morganlewis.com
11   MORGAN, LEWIS & BOCKIUS LLP                   MORGAN, LEWIS & BOCKIUS LLP
     300 South Grand Avenue, 22nd Floor            One Market, Spear Street Tower
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15   Costa Mesa, California 92626
16         BY CM/ECF NOTICE OF ELECTRONIC FILING I electronically filed the
           document(s) with the Clerk of the Court by using the CM/ECF system. Participants
17         in the case who are registered CM/ECF users will be served by the CM/ECF system.
           Participants in the case who are not registered CM/ECF users will be served by mail
18         or by other means permitted by the court rules.
19         (FEDERAL) I declare that I am employed in the office of a member of the bar of
           this Court at whose direction the service was made. I declare, under penalty of
20         perjury under the laws of the United States of America, that the above is true and
           correct.
21
          Executed on March 8, 2022, at Los Angeles, California.
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24                                               Jose Castro
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